Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 1 of 7
Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 2 of 7
Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 3 of 7
Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 4 of 7
Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 5 of 7
Case 4:06-cr-00297-BSM   Document 173   Filed 07/10/07   Page 6 of 7
   Case 4:06-cr-00297-BSM      Document 173   Filed 07/10/07   Page 7 of 7




EXHIBIT A - Medical needs letter




                Sealed
              pursuant to
              JCUS Policy
